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  Chapter 13 Management Order


                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re:                                                        Bankruptcy Case No.: 22−20374−CMB
                                                                Chapter: 13
  Lee A. Mendlowitz

     Debtor(s)

                                 Chapter 13 Initial Case Management Order

      AND NOW, The 6th of March, 2022, the Court hereby ORDERS, ADJUDGES and DECREES as
  follows:

           1. Duty to Make Payments. Unless the Court orders otherwise, Debtor(s) are directed to
              commence making payments to the Chapter 13 Trustee to fund the proposed Chapter 13
              Plan. Such payments shall commence within 30 days after the commencement of the Chapter
              13 case. The requirement to make plan payments is a continuous obligation and applies to
              any modification to any Chapter 13 Plan, regardless of whether any modifications are sought
              by the Debtor(s) and/or required by the Court.

           2. Duty to Cooperate, File Schedules, Statements, and Other Documents. The Debtor(s) shall
              cooperate with the Chapter 13 Trustee to the fullest extent required by law as provided by 11
              U.S.C. §521. This includes filing all documents and disclosures as may be required by orders
              of this Court, the United States Bankruptcy Code, 11 U.S.C. §101 et seq., the Federal Rules
              of Bankruptcy Procedure, and the Local Rules of the United States Bankruptcy Court for the
              Western District of Pennsylvania. Debtor(s) shall provide Trustee with all documents and
              information reasonably requested as may be necessary to identify, verify, or otherwise
              investigate the Debtor(s) assets, liabilities, income, expenses, and financial affairs.

             Debtor(s) are further reminded of their obligation to: (a) report by way of amended schedules
             all material changes in income or expenses that would demonstrate an increase or decrease in
             disposable income; (b) report by way of amended schedules all material assets acquired
             post−petition including causes of action, insurance proceeds, interests in probate estates or
             trusts, etc.; (c) obtain immediate Bankruptcy Court approval of any professionals employed
             prepetition and who continue to be employed, and/or prior approval of professionals to be
             employed after the case is filed; and (d) obtain prior Bankruptcy Court approval before
             selling or otherwise transferring any estate assets.

           3. Wage Attachment. Unless the Court orders otherwise, and to the extent the Debtor(s) plan is
              funded from the payment of wages, the Debtor(s) shall immediately file a wage attachment
              motion in order to fund the proposed Chapter 13 Plan. Alternatively, Debtor(s) may sign up
              for and commence payments under the Trustee's TFS online payment program (see
              http://www.ch13pitt.com/forms/). Until a wage attachment is fully implemented by the
              Debtor(s) and the relevant employer(s), it shall be the responsibility of the Debtor(s) to remit
              plan payments to the Chapter 13 Trustee. To the extent any Chapter 13 Plan is modified, and
              unless the Court orders otherwise, the Debtor(s) shall promptly seek modification of the
              wage attachment to ensure that any modified Chapter 13 Plan is fully funded.

           4. Certain Pre−Confirmation Distributions by the Chapter 13 Trustee. If the Chapter 13 Plan
              includes a requirement that provides for the Trustee to make pre−confirmation distributions
              to creditors under 11 U.S.C. § 1326(a)(1)(B) or (C), the Chapter 13 Trustee is authorized to
              make such distributions from available funds in accordance with the most current Chapter 13
              plan on file without further Order of Court. Any such distributions may commence as soon as
              practicable, but no earlier than the Chapter 13 Trustee's distribution date that is after the 1st
              of the month following the entry of this Chapter 13 Initial Case Management Order. If the
              plan is modified to alter or eliminate the distribution under § 1326(a)(1)(B) or (C) to any
              such creditor(s), then the Chapter 13 Trustee's authorization is limited accordingly. Similarly,
              if the creditor or creditors designated to receive such distributions receive relief from the
              automatic stay, such distributions shall cease. Notwithstanding such authorization, Trustee
              may require that parties agree to the entry of an Interim Adequate Protection or Interim
              Confirmation Order as a precondition for the commencement of payments.
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     5. Interim Adequate Protection to Other Creditors. To the extent the Debtor(s), Chapter 13
        Trustee, or any other party in interest desire pre−confirmation distributions as adequate
        protection, other than the kind provided for in paragraph 4 above, such parties are directed to
        submit a stipulated consent order and/or make separate application to the Court for
        authorization for the Chapter 13 Trustee to make adequate protection distributions from plan
        funding. A form Stipulated Order Providing For Pre−Confirmation Adequate Protection is
        available on Judge Bohm's "Forms" webpage and can be directly accessed at:
        https://www.pawb.uscourts.gov/sites/default/files/forms/CMB−form−ch13−1.pdf.
        Alternatively, Trustee retains the option to request entry of an interim confirmation order, in
        lieu of a separate interim adequate protection order, for purposes of adequate protection
        payments.

     6. Chapter 13 Trustee's Percentage Fees. The Chapter 13 Trustee remains authorized to collect,
        and be paid, percentage fees pursuant to 28 U.S.C. § 586 with respect to any funds received
        by the Chapter 13 Trustee.

     7. Business Questionnaire and Financial Reporting. To the extent the Debtor(s) are
        self−employed, the Debtor(s) shall provide the Chapter 13 Trustee with a completed and
        accurate business case questionnaire along with complete and accurate financial reporting, as
        required or requested by the Chapter 13 Trustee.

     8. Tax Returns. Unless the Court orders otherwise, the Debtor(s) shall file with the appropriate
        taxing authorities all outstanding pre−petition tax returns and post−petition tax returns as
        required by applicable law, including without limitation 11 U.S.C. § 1308. Copies of such tax
        returns are to be provided to the Chapter 13 Trustee as required by applicable law, including
        without limitation 11 U.S.C. § § 521, 1308, and Local Bankruptcy Rule 2015−1(a).

     9. Plan Confirmation Process: Unless the Court orders otherwise, Local Bankruptcy Rule
        3015−3 shall be supplemented by the following procedures:

             a. Creditors have the duty to promptly review all plans and present any objections in a
                timely manner. Objections to the initial Chapter 13 plan proposed by the Debtor(s)
                shall be filed by creditors holding claims by at least seven (7) days prior to the first
                date set for the meeting of creditors as scheduled by the Notice of Chapter 13
                Bankruptcy Case, Meeting of Creditors & Deadlines (the "341 Notice").

             b. The Chapter 13 Trustee shall perform all duties set forth in 11 U.S.C. §1302,
                including the duty to promptly review all plans, object when necessary, and
                recommend confirmation to the Court where the Debtor(s) and their plan (or
                amended plan) comply with all applicable provisions of the United States
                Bankruptcy Code. The Chapter 13 Trustee is deemed to have a presumed continuous
                objection to the proposed Chapter 13 Plan until such time the Chapter 13 Trustee
                recommends the plan (or any amendment thereto) for final confirmation.

             c. Unless the Court orders otherwise, parties having an objection to the Chapter 13 Plan
                are required to attend any hearing on the proposed Chapter 13 Plan and the meeting
                of creditors that is duly scheduled pursuant to the 341 Notice (the "Initial
                Confirmation Hearing"). At the Initial Confirmation Hearing, the Chapter 13 Trustee,
                the Debtor(s), and any objecting party are to confer to address objections and/or
                other infirmities with respect to the proposed Chapter 13 Plan, including without
                limitation, plan funding and duration, feasibility, claim classification and treatment,
                curing and reinstatement of long−term continuing debt obligations, disclosure of
                assets and liabilities, and good faith (collectively, the "Plan Objections"). At the
                conclusion of the Initial Confirmation Hearing, the Chapter 13 Trustee's office shall
                electronically file with the Court a copy of the minutes or proceeding memo of the
                341 meeting and Initial Confirmation Hearing which minutes shall indicate: (a)
                whether the meeting is concluded or continued; (b) whether confirmation has been
                recommended (and if so that the confirmation Order is to be filed within 3 business
                days after the meeting); and (c) if final confirmation is not recommended, the date,
                time and place of the further conciliation of the Plan ("Conciliation Conference(s)")
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             or, as applicable, the date and time of the contested plan hearing. 1

             PARTIES ARE ADVISED THAT THE LOCATION OF ALL CONTINUED
             CONCILIATION CONFERENCES AND MEETINGS OF CREDITORS (AND
             WHETHER TO BE CONDUCTED IN PERSON OR ON ZOOM) CAN BE
             ACCESSED AT http://www.ch13pitt.com/calendar/. FOR MEETINGS
             CONDUCTED ON ZOOM, THE TABLE AND MEETING I.D. FOR THE
             MEETING WILL APPEAR ON THE CALENDAR. PARTIES ARE
             EXPECTED TO FAMILIARIZE THEMSELVES WITH THE TRUSTEE'S
             WEBSITE AT http://www.ch13pitt.com/ AND TO COMPLY WITH THE
             PROCEDURES SET FORTH AT THAT SITE FOR ATTENDANCE AT AND
             PARTICIPATION IN THE MEETINGS OF CREDITORS, INITIAL
             CONFIRMATION HEARING, AND CONCILIATION CONFERENCES.

           d. To the extent that Plan Objections are not resolved at the Initial Confirmation
              Hearing (due to time limitations or any other reason), the objecting parties,
              Debtor(s), and the Chapter 13 Trustee may continue to confer to address outstanding
              Plan Objections in whatever manner, format and time as reasonably requested by the
              Chapter 13 Trustee or mutually agreed to among the parties to the objection.

             THE COURT EXPECTS, AND REQUIRES, ALL OF THE PARTIES TO ACT
             IN GOOD FAITH AND TO UTILIZE THEIR BEST EFFORTS TO RESOLVE
             ALL PLAN OBJECTIONS PRIOR TO THE NEXT SCHEDULED
             CONCILIATION CONFERENCE (OR CONTESTED HEARING, IF
             APPLICABLE). FAILURE TO DO SO MAY RESULT IN THE IMPOSITION
             OF SANCTIONS, INCLUDING WITHOUT LIMITATION THE
             DISALLOWANCE OF COMPENSATION OR FEES.

           e. The 341 Notice shall schedule the Initial Confirmation Hearing. To the extent a
              subsequent Conciliation Conference(s) is scheduled, notice of the continuation shall
              be placed on the Court's docket by the Trustee (as set forth above). All parties and
              their counsel are advised of their duty to monitor the docket.


           f. Trustee may, in her discretion (and subject to the agreement of the Debtor(s) and
              objecting creditors, if any), schedule further Conciliation Conferences, if she
              believes it reasonable and necessary to resolve objections to the Plan or resolve
              issues that affect plan feasibility (including payment defaults). The minutes of all
              Conciliation Conferences shall be filed with the Court by the Trustee, which minutes
              shall indicate: (a) whether final confirmation has been recommended (and if so that
              the confirmation Order is to be filed within 3 business days of the meeting); and (b)
              if final confirmation is not recommended, the date, time and place of the further
              conciliation of the Plan or contested hearing date, as the case may be.


           g. If the Trustee should determine that the objection(s) to the Plan cannot be amicably
              resolved, or the Debtor(s) or objecting parties so request, the case shall be scheduled
              for a contested hearing on a date and time available for contested hearings as
              provided by the Court. No later than three (3) business days prior to the contested
              plan hearing, the Chapter 13 Trustee shall file with the Court a written objection
              setting forth the reasons why the matter has been scheduled for a contested hearing.

             No later than three (3) business days prior to the contested plan hearing, the Chapter
             13 Trustee shall file with the Court a written objection setting forth the reasons why
             the matter has been scheduled for a contested hearing.

             ______________________________________
             1Notwithstanding this Order, in the event that the Trustee and Clerk of the
             Bankruptcy Court create a process that allows the Trustee to create virtual docket
             entries without the need to also file a paper document, the Trustee will have satisfied
             the requirement of filing the minutes (both with respect to the First Meeting of
             Creditors and Initial Confirmation Hearing, and any subsequent Conciliation
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                 Conference(s)) by making the virtual docket entry.
              h. Where the Plan Objections are resolved and the Chapter 13 Trustee recommends
                 consensual confirmation, the Chapter 13 Trustee shall prepare a proposed
                 confirmation Order consistent with terms and conditions discussed at the Initial
                 Confirmation Hearing and/or Conciliation Conference(s) and shall email the
                 completed proposed Order to the attorney representing the Debtor(s) at the Initial
                 Confirmation Hearing / Conciliation Conference(s), which attorney shall verify its
                 terms and file it with the Court with a certification of counsel pursuant to Local
                 Bankruptcy Rule 9013.8. The Order shall substantially conform to the standard form
                 confirmation Order utilized in the United States Bankruptcy Court for the Western
                 District of Pennsylvania. A form of the standard confirmation Order is available on
                 Judge Bohm's "Forms" webpage and can be directly accessed at:
                 https://www.pawb.uscourts.gov/sites/default/files/forms/CMB−form−ch13−2.pdf.
                 Upon review of such consent order, the Court may, in its discretion, enter the
                 confirmation Order or take such further or other action as it deems appropriate
                 including scheduling a hearing on the proposed Order and Plan.

     10. Uncontested Dismissal or Conversion for Failure to Make Payments. To the extent the
         Chapter 13 Trustee is unable to recommend confirmation of any plan or amended plan due to
         lack of payment by the Debtor(s) or for any other reason, the Chapter 13 Trustee shall
         recommend to the Court that the case be either converted to a case under Chapter 7 or
         dismissed (with or without prejudice), whichever is in the best interest of the bankruptcy
         estate. Without further notice and/or hearing, the Court may in its discretion grant any
         uncontested request to convert or dismiss made by the Chapter 13 Trustee.

     11. Stipulated Orders Modifying Plans Previously Confirmed on a Final Basis. In many
         instances, modification of a plan previously confirmed on a final basis is sought, particularly
         in the context where the Chapter 13 Trustee has filed a Certificate of Default, seeks
         dismissal, where a creditor seeks relief from stay due to Debtor(s) falling behind in plan
         payments, or where there are changes in mortgage payment terms or other claims filed after
         confirmation. It is Debtor(s)' Attorneys obligation to monitor the confirmed Plan on an
         ongoing basis, and to seek modifications as necessary to adjust for changing circumstances,
         including claims filed after confirmation or payment changes.
         Where the Debtor(s) have sufficient regular income and time to cure existing defaults, and no
         creditor's treatment is altered by the modification (other than concerning the timing of
         payment), it is more efficient and less costly for the parties−in−interest to work out their
         differences and formulate a modification to the existing plan to provide for the curing of such
         defaults. Where this process is appropriate, the Court directs that the parties utilize and file a
         stipulated order modifying plan, in a format that substantially complies with the form
         Stipulated Order Modifying Plan available on Judge Bohm's "Forms" webpage and which
         can be directly accessed at:

        https://www.pawb.uscourts.gov/sites/default/files/forms/CMB−form−ch13−3.pdf

        Unless otherwise agreed to between the Debtor(s) and Trustee, it shall be the Debtor(s)'
        obligation to draft the proposed order in a modifiable word document format, and then
        submit it in accordance with the Trustee's procedures as posted at the Trustee's website
        (which may specify a particular email address for such requests) for review and agreement.
        Assuming agreement is reached, it shall be the Debtor(s)' obligation to file the final agreed
        Order under Certification of Counsel. This process is in lieu of filing a lengthy amended plan
        or a notice of proposed cure in response to Trustee's Certificate of Default, and the
        scheduling of multiple hearings regarding defaults and plan modification(s). It is in the best
        interests of creditors, the Debtor(s) and the estate because this streamlined process both
        reduces administrative expenses and provides for expedient modification of the Plan (and
        resumption of plan payments to affected parties).
         NOTE: In instances where a Certificate of Default has been entered, but no consensual
        resolution to cure the plan default has been achieved as to warrant the filing of a stipulated
        order modifying plan, Debtor(s) have the option of submitting a Notice of Proposal to Cure
        Plan Defaults (in the form available on Judge Bohm's "Forms" webpage and which can be
        directly accessed at:

        https://www.pawb.uscourts.gov/sites/default/files/forms/CMB−form−ch13−4.pdf,

        where the only change to the plan is a change in the monthly payment or plan term, and a
        conciliation conference is desired.
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     12. Plan Modifications in lieu of Stipulated Order. In those situations, where a stipulated
         modification Order is not appropriate, the Debtor shall file and contemporaneously serve
         (and file a certificate of service of) a "Notice of Proposed Modification to Plan," which
         substantially complies with the form found on Judge Bohm's website along with the proposed
         Amended Chapter 13 Plan. The Notice of Proposed Modification to Plan shall include a date,
         time, and place for the Initial Confirmation Hearing on the Amended Plan as selected from a
         list of dates and times for such hearings as shall be maintained by the Trustee at
         http://www.ch13pitt.com, which shall be no less than 30 days and not more than 60 days
         after the date the Notice is filed and served. If these two items are filed, the proposed
         amendment will follow the Court's standard conciliation/confirmation process. Of course,
         when counsel serves the Amended Plan on all creditors, they should also serve the Notice of
         Proposed Modification as well.

  SO ORDERED, The 6th of March, 2022.                          Carlota M. Bohm
                                                               United States Bankruptcy Judge
